 ~AO 245B       (Rev. 12/03) Judgment in a Criminal Case
   NeED         Sheet 1



                                           UNITED STATES DISTRICT COURT
                           Eastern                                     District of                              North Carolina
          UNITED srArES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                V.
                    CRAIG ALFORD                                                Case Number: 7:07-CR-23-2F

                                                                               USM Number:50640-056

                                                                               Harold Cogdell
                                                                               Defendant's Attorney
THE DEFENDANT:
ill pleaded guilty to counl(s)        1s, 2s (Superseding Indictment)

o pleaded nolo contendere to eount(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                   Nature of Offense                                                  OfTense Ended
21 U.S.C. § 846                                    Conspiracy to Distribute and Possess With Ihe Intent 10            12/31/2006         15
                                                   Distribute More Than 5 Kilograms of Cocaine




       The defendant is senteneed as provided in pages 2 through                      7       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
.4ZJ Count(s)     1, 2 of the original indictment           D is       ~ are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution. costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in econormc circumstances.

 Sentencing Location:                                                          112212008
   Wilmington, NC                                                              Date of Imposition of Judgment




                                                                                JAMES C. FOX, SENIOR U.S. DISTRICT JUDGE
                                                                               Name and Title ofJudge


                                                                               112212008
                                                                               Date




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                                         ADDITIONAL COUNTS OF CONVICTION

Title & Section                 Nature of Offense                                    Offense Ended        Count
 21 U.S.C. § 841(a)(1)          Possession With the Intent to Distribute More Than    1213112006            2s
and 18 U.S.C. § 2               5 Kilograms of Cocaine and Aiding and Abetting




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AO 2458      (Rev. 12103) Judgment in Criminal CS5e
   NeED      Sheet 2 - Imprisonment

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                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 168 MONTHS CONSISTING OF 168 MONTHS ON COUNT 1, AND 168 MONTHS ON COUNT 2, TO RUN
 CONCURRENTLY



   o The court makes the following recommendations to the Bureau of Prisons:



  i1 The defendant is remanded to the custody of the United States Marshal.
  o The defendant shall surrender to the United States Marshal for this district:
     o at _ _ _ _ _ _ _ _ D a.m. o p.m. on
     o as notified by the United States Marshal.
  o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     o before p.m. on
     o as notified by the United States Marshal. D Or
     o as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                         to

a'---                                             _   with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                          By
                                                                                                DEPUTY UNlTED STATES MARSHAL




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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
  5 YEARS AS TO EACH OF COUNTS 1 AND 2, TO RUN CONCURRENTLY
     The defendant must repDrt to the probation office in the district to which the defendant is released within 72 hours of release trom the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a contrclled
substance. The defendant shall submit to one drug test within 15 davs of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.                            ­
D       The above drug testing condition is suspended, based on the court's determination that the defendant poses a IDw risk of future
        substance abuse.
~       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check. if applicable.)
~       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
D       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
D    The defendant shall participate in an approved program for domestic violence. (Check, if applicahle.}
     If this judgment imposes a t!n~ or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this Judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                             ST ANDARD CONDITIONS OF SUPERVISION
 1.     The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
        officer.
2.      The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
        complete written report within the first five (5) days of each month.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.      The defendant shall support the defendant's dependents and meet other family responsibilities.
5.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, Dr other
        acceptable reasons.
6.      The defendant shall notify the probation officer at least then (10) days prior to any change of residence Dremployment.
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use distribute, Dr administer any controlled
        substance, Dr any paraphernalia related to any controlled substance, except as prescribed by a physician.
8.      The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
        places specified by the court,
9.      The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
        a felony unless granted permission to do SD by the probation officer.
 10. The defendant shall permit a probation officer to visit the defendant at any time at horne or elsewhere and shall permit confiscation of
     any contraband observed in plain view by the probation officer.
 11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested Dr questioned by a law enforcement
     officer.
 12. The defendant shall not enter into any agreement to act as an informer Dr a special agent of a law enforcement agency without the
     permission of the CDUrt.
 13. As directed by the probation officer, the defendant shall notifv third parties of risks that may be occasioned by the defendant's
     criminal record Dr personal history or characteristics, and shan permit the probation officer to make such notifications and to conflrm
     the defendant's compliance with such notification requirement.




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  NeED    Sheet )A - Supervised Release
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                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.

 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other dnug detection measures
 and may require residence or participation in a residential treatment facility.

 The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
 officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine
 compliance with the conditions of this judgment.

 The defendant shall participate in a vocational training program as directed by the probation office.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.




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AO 2458    (Rev. 12/03) Judgment in a Criminal Case
  NeED     Sheet 5 - Criminal Monerary Penalties
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                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                    Fine                                 Restitution
TOTALS             $ 200.00                                        $ 9,000.00                         $



o The determination of restitution is deferred until - - An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                         Total] ,oss·         Restitution Ordered         Priority or Percentage




                                  TDT"A""L"'S                  _                  $0.00                     $0.00


o Restitution amount ordered pursuant to plea agreement $
o The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

II The eourt determined that the defendant does not have the ability to pay interest and it is ordered that:
     ii the interest requirement is waived for the 16 fine 0 restitution.
     o the interest requirement for the o fine o restitution is modified as follows:

... Findings for the total amount of losses are required under Chapters 109A, 110, II OA,and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.



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AD 245B     (Rev. 12/03) Judgment in a Criminal Case
    NCED    Sheet 6 - Schedule of Payments

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                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A      0    Lump sum payment of $                                due immediately, balance due

            o not later than                                         , or
            o in accordance               o c,         0    D,   o     E, or     0 F below: or
B      0    Payment to begin immediately (may be combined with                 0 C,     0 D, or    0 F below); or
C      0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g.. 30 or 60 days) after the date of this judgment; or

D      0   Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E      D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      ~ Special instructions regarding the payment of criminal monetary penalties:

            The special assessment imposed shall be due in full immediately.

            The fine imposed shall be due immediately and the interest is waived.


Unless the court has expressly ordered otherwise, ifrhis judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




o The defendant shall pay the cost of prosecution.
D The defendant shall pay the following court cost(s):
D      The defendant shall forfeit the defendant's interest in the following propeny to [he United States:




Payments shall be applied in the following order:          (I/
                                                        assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.




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